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              IN THE UNITED STATES DISTRICT COURT
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             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
12                                        Case No. MJ-21-04870-DUTY
     UNITED STATES OF AMERICA,
13
                     Plaintiff,
14                                        ORDER OF DETENTION
                v.
15
     CHRISTIAN NAJERA
16   ALVARADO,
17                   Defendant.
18
19                                       I.
20      The Court conducted a detention hearing:
21       ❑
         X     On motion of the Government[18 U.S.C. § 3142(fl(1)] in a case:
22       allegedly involving:
23            ()a crime of violence.
24            ()an offense with a maximum sentence of life imprisonment or
25             death.
26            (X)a narcotics or controlled substance offense with the maximum
27             sentence often or more years.
28
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 1               ( )any felony —where defendant convicted oftwo or more prior

 2                offenses described above.

 3               ( )any felony that is not otherwise a crime of violence that involves a

 4                minor victim, or possession of a firearm or destructive device or any

 5                other dangerous weapon, or a failure to register under 18 U.S.C.

 6                § 2250.

 7
 8         ~      On motion by the Government or on the Court's own motion

 9 [18 U.S.C. § 3142(fj(2)] in a case allegedly involving, on further allegation by the
10   Government of:

11               (X)a serious risk that defendant will flee

12               ()a serious risk that the defendant will( )obstruct or attempt to

13                obstruct justice;( )threaten, injure or intimidate a prospective witness

14                or juror, or attempt to do so.

15
16         ❑ The Court concludes that the Government is entitled to a rebuttable

17   presumption that no condition or combination ofconditions will reasonably assure

18   the defendant's appearance as required and the safety or any person or the

19   community [18 U.S.C. § 3142(e)(2)].

20
21                                          II.
~~         ~ The Court finds that no condition or combination of conditions will

23   reasonably assure: ~ the appearance ofthe defendant as required.

24                      ~ the safety of any person or the community.

25         ❑ The Court finds that the defendant has not rebutted by sufficient evidence

26   to the contrary the presumption provided by statute.

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28                                          III.

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 1         The Court has considered:(a)the nature and circumstances of the offenses)

 2   charged, including whether the offense is a crime of violence, a Federal crime of

 3   terrorism, or involves a minor victim or a controlled substance, firearm, explosive,

 4   or destructive device;(b)the weight of evidence against the defendant;(c)the

 5   history and characteristics of the defendant; and (d)the nature and seriousness of

 6   the danger to any person or the community. [18 U.S.C. § 3142(g)] The Court also

 7   considered all the evidence adduced at the hearing and the arguments, the

 8   arguments of counsel, and the report and recommendation of the U.S. Pretrial

 9   Services Agency.

10                                         IV.

11         The Court bases its conclusions on the following:

12         D
           X As to risk of non-appearance: no bail resources; substance abuse history;

13   no stable employment or residence.

14         ❑
           X As to danger to the community: instant allegations; criminal history;

15   substance abuse history.

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17         ///

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28                                                V.

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 1          ❑     The Court finds a serious risk that the defendant will

 2                ❑      obstruct or attempt to obstruct justice.

 3                ❑      threaten, injure or intimidate a prospective witness or juror, or

 4                       attempt to do so.

 5         The Court bases its conclusions on the following:

 6
 7                                            VI.

 8         IT IS THEREFORE ORDERED that the defendant be detained until trial.

 9   The defendant will be committed to the custody of the Attorney General for

10   confinement in a corrections facility separate, to the extent practicable, from

11   persons awaiting or serving sentences or being held in custody pending appeal.

12   The defendant will be afforded reasonable opportunity for private consultation

13   with counsel. On order of a Court of the United States or on request of any

14   attorney for the Government, the person in charge of the corrections facility in

15   which defendant is confined will deliver the defendant to a United States Marshal

16   for the purpose of an appearance in connection with a court proceeding.

17 [18 U.S.C. § 3142(1)]
18                                                       f          /~
     Dated: 10/25/2021
19
                                             HON. ROZELLA A. OLIVER
20                                           UNITED STATES MAGISTRATE JUDGE
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